     USCA11 Case: 23-11005     Document: 9     Date Filed: 04/27/2023   Page: 1 of 69

                                Case No.: 23-11005-D

                    UNITED STATES COURT OF APPEALS
                       FOR THE ELEVENTH CIRCUIT

MARGARITA RODRIGUEZ-BONILLA

        Plaintiff/Appellant,

v.

WAYNE IVEY, et al.

        Defendants/Appellees.


                     Appeal from the United States District Court
                 for the Middle District of Florida, Orlando Division
                          Case No.: 6:21-cv-00428-JA-DAB



             RESPONSE TO JURISDICTIONAL QUESTION
            BY DEFENDANTS/APPELLEES IVEY, FAYSON,
                 ZIMMERMAN AND WAGNER, JR.

                                             THOMAS W. POULTON, ESQ.
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                                             Attorney for Defendants/Appellees
                                             Ivey, Fayson, Zimmerman and
                                             Wagner, Jr.
 USCA11 Case: 23-11005      Document: 9    Date Filed: 04/27/2023    Page: 2 of 69



                             Case No.: 23-11005-D

                Margarita Rodriguez-Bonilla v. Wayne Ivey, et al.

               CERTIFICATE OF INTERESTED PERSONS
              AND CORPORATE DISCLOSURE STATEMENT

Antoon, Honorable John – U.S. District Judge in court below

Armor Correctional Health Services, Inc. – Defendant in case below

Baker, Honorable David A. – Magistrate Judge in court below

DeBevoise & Poulton, P.A. – Attorneys for Defendants/Appellees
           Sheriff Ivey, Fayson, Zimmerman, Wagner, Jr.

Fayson, George – Defendant/Appellee

Florida Sheriffs Risk Management Fund – Liability Coverage                       for
      Defendants/Appellees Sheriff Ivey, Fayson, Zimmerman, Wagner, Jr.

Friedman, Jason R. – Attorney for Defendants Nadeau, Robinson, Jones and
      Armor Correctional in case below

Ivey, Wayne, Sheriff of Brevard County – Defendant/Appellee

Jones, Yolanda – Defendant in case below

Kmiec, Katherine N. – Attorneys for Defendants Nadeau, Robinson, Jones and
     Armor Correctional in case below

Kubicki Draper, P.A. – Attorneys for Defendants Nadeau, Robinson, Jones and
     Armor Correctional in case below

Nadeau, Debora – Defendant in case below



                                      C1 of 2
 USCA11 Case: 23-11005       Document: 9    Date Filed: 04/27/2023   Page: 3 of 69



Poulton, Thomas W. – Attorneys for Defendants/Appellees Sheriff Ivey, Fayson,
      Zimmerman, Wagner, Jr.

Robinson, Ayana – Defendant in case below

Rodriguez-Bonilla, Margarita – Plaintiff/Appellant

Wagner, Jr., Robert – Defendant/Appellee

Zimmerman, Richard – Defendant/Appellee

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rules 26.1-1 through 26.1-5, Defendants/Appellees Ivey, Fayson, Zimmerman and

Wagner, Jr. have no corporations to disclose.




                                      C2 of 2
 USCA11 Case: 23-11005       Document: 9     Date Filed: 04/27/2023   Page: 4 of 69



              RESPONSE TO JURISDICTIONAL QUESTION

      Defendants/Appellees Sheriff Wayne Ivey, George Fayson, Richard

Zimmerman and Robert Wagner, Jr., by and through undersigned counsel and

pursuant to the Court’s Jurisdictional Question issued April 14, 2023, hereby

respond as follows:

      Please address who is the proper appellant and whether Margarita
      Rodriguez-Bonilla, who purports to be the personal administrator
      of the estate of Gregory Lloyd Edwards, may represent the estate
      while proceeding pro se. See Reshard v. Britt, 839 F.2d 1499 (11th
      Cir. 1988) (en banc) (evenly split panel affirming by operation of
      law a district court’s order disqualifying the deceased’s estate
      representatives from proceeding pro se in a wrongful death suit);
      Devine v. Indian River Cnty. Sch. Bd., 121 F.3d 576, 582 (11th Cir.
      1997) (explaining that even though 28 U.S.C. § 1654 grants parties
      the ability to “plead and conduct their own cases personally or by
      counsel,” it does not grant the ability to plead or conduct someone
      else’s case), overruled on other grounds by Winkelman v. Parma City
      Sch. Dist., 550 U.S. 516, 127 S. Ct. 1994 (2007); see also, e.g., Malone
      v. Nielson, 474 F.3d 934, 937 (7th Cir. 2007) (persuasive)
      (“Although individuals have a right to proceed pro se . . .
      administrators do not act on behalf of themselves, but on behalf of
      all of the beneficiaries of an estate. Consequently, if the
      administrator is not the sole beneficiary of the estate, then he or she
      may not represent the estate in court.” (citations omitted));
      Franklin v. Garden State Life Ins., 462 F. App’x 928, 930 (11th Cir.
      2012) (unpublished) (concluding that a non-attorney was not
      permitted to proceed pro se on behalf of an estate even if she was
      the estate’s executor). But see Reshard, 839 F.2d at 1499-1504
      (Tjoflat, J., dissenting).




                                         1
  USCA11 Case: 23-11005        Document: 9      Date Filed: 04/27/2023    Page: 5 of 69



      Just a few days after the jurisdictional question was raised by the Court

in this case, the Court issued its opinion in Iriele v. Griffin, ___ F.4th ___, 2023

WL 2964512 (11th Cir. April 27, 2023). In that case, this Court squarely

adopted the rule that, where the personal representative of an Estate is not the

sole beneficiary or where there are creditors, then the personal representative

may not proceed pro se.

             We start by answering the question posed by the district court,
      which up until now we have left unanswered: can an executor of an
      estate file a lawsuit in federal court pro se on behalf of the estate where
      there are additional beneficiaries of the estate, other than the executor,
      and/or where the estate has outstanding creditors? 28 U.S.C. § 1654
      provides: “In all courts of the United States the parties may plead and
      conduct their own cases personally or by counsel as, by the rules of
      such courts, respectively, are permitted to manage and conduct causes
      therein.” (emphasis added). Equally divided sitting en banc, we
      previously offered no opinion on this issue. Reshard v. Britt, 839 F.2d
      1499, 1499 (11th Cir. 1988) (en banc). Faced with the issue again
      today, we hold that, under the terms of § 1654, an executor may not
      represent an estate pro se where there are additional beneficiaries, other
      than the executor, and/or where the estate has outstanding creditors. In
      such a situation as exists here, an executor of such an estate does not
      bring his “own case” and thus the estate must be represented by counsel.
      28 U.S.C. § 1654.

             We join several of our sister circuits that have reached the same
      conclusion, prohibiting executors of estates from representing the estate
      in federal court pro se where the estate has additional beneficiaries
      and/or creditors. See Pridgen, 113 F.3d at 393 (creditors of the estate);
      Shepherd v. Wellman, 313 F.3d 963, 970 (6th Cir. 2002) (additional
      beneficiaries of the estate); Malone v. Nielson, 474 F.3d 934, 937 (7th
      Cir. 2007) (per curiam) (additional beneficiaries of the estate); Murray,
      901 F.3d at 171 (holding that a non-beneficiary administrator of an
      estate cannot represent the estate pro se). See also Guest v. Hansen, 603
      F.3d 15, 21 (2d Cir. 2010) (holding that “the administrator and sole
                                            2
  USCA11 Case: 23-11005        Document: 9      Date Filed: 04/27/2023   Page: 6 of 69



        beneficiary of an estate with no creditors may appear pro se on behalf
        of the estate”); Bass, 788 F.3d at 230 (holding that a sole beneficiary of
        an estate without any creditors may represent the estate pro se);
        Rodgers, 819 F.3d at 211 (holding that “[a] person with capacity under
        state law to represent an estate in a survival action may proceed pro se
        if that person is the only beneficiary and the estate has no creditors”).

        Iriele at * 4.

        Based on the rule announced in Iriele, the answer to the question as

presented in this case turns on whether: a) Ms. Rodriguez-Bonilla is the sole

beneficiary of the Estate of Gregory Edwards; and/or b) whether there are

creditors of the Estate.

        A. Ms. Rodriguez-Bonilla is not a beneficiary of the Estate of
           Gregory Edwards and there are other beneficiaries of the
           Estate.

        The operative complaint is the Second Amended Complaint (Dkt. 42).

A copy is attached as Exhibit A to this response. It states in paragraph 20 that

Ms. Rodriguez- Bonilla, represented at the time by counsel, was asserting

claims “on behalf of the ESTATE and BENEFICIARIES as permitted by

law.”

        The beneficiaries are not identified in the complaint as such; however,

in initial Rule 26 disclosures dated May 5, 2021, Plaintiff identified Ms.

Rodriguez-Bonilla as Gregory Edwards’ mother-in-law, Kathrine Edwards as

Gregory Edwards’ wife, and a minor child as Gregory Edwards’ daughter.

The Rule 26 disclosures were not filed in the district court but are attached to
                                            3
 USCA11 Case: 23-11005        Document: 9     Date Filed: 04/27/2023   Page: 7 of 69



this response as Exhibit B.     In her deposition, Dkt. 147, Ms. Edwards

discussed the minor daughter with regard to receipt of survivor benefits from

the Social Security Administration and receiving counseling. See Exhibit C,

excerpt from deposition of Kathleen Edwards, Dkt. 147, pp. 78-80.

       Under Florida law, the survivors of Gregory Edwards’ Estate would be

the wife and minor daughter. §768.21(1 -3), Fla. Stat. There is no provision

whereby Ms. Rodriguez-Bonilla, Gregory Edwards’ mother-in-law, would be

deemed a survivor or beneficiary entitled to damages for herself. See e.g.

Coates v. R.J. Reynolds Tobacco Co., __ So.3d __, 2023 WL 106899 at * 4

(Fla. January 5, 2023) (§768.21, Fla. Stat. identifies survivors who may

recover under Florida’s Wrongful Death Act); Sharbaugh v. Beaudry, 267

F.Supp.3d 1326, 1335-40 (N.D.Fla. 2017) (deciding that §768.21, Fla. Stat.,

“fills that gap” by providing a remedy under §1983, including defining

survivors who may recover).

      Thus, Ms. Rodriguez-Bonilla is not a beneficiary of the Estate and even

if she was, there are others (the wife and daughter) and so pursuant to the

decision in Iriele she may not proceed in this matter on a pro se basis.




                                          4
    USCA11 Case: 23-11005        Document: 9   Date Filed: 04/27/2023    Page: 8 of 69



       B. There are creditors for the Estate.

       There are at this point at least two creditors to the Estate. In this case,

the Defendants were awarded a judgment against the Estate for taxable costs

in the amount of $8,432.20. (Dkt. 190, copy attached hereto as Exhibit D.)

Additionally, in the related action against the City of West Melbourne, Middle

District of Florida Case No. 6:20-cv-02235-JA-DAB, the City has been

awarded a cost judgment against the Estate for $3,575.96. (See Exhibit E to

this response).1

       Thus, the Estate now has at least those creditors and so, again per the

rule announced in Iriele Ms. Rodriguez-Bonilla may not proceed on a pro se

basis on behalf of the Estate.

                                 CONCLUSION

       Based on the further holding in Iriele that a district court may not

simply dismiss a pro se case brought on behalf of an Estate in these

circumstances, Appellees respectfully submit it would appear that the Court

should provide the Estate “an opportunity to obtain counsel within a

reasonable amount of time before dismissing the case outright.” Iriele at * 4.




1
 The two cases, one against the Brevard Sheriff and corrections deputies, and the
other, against the City of West Melbourne, were combined for purposes of discovery
and pretrial matters. (See Dkts. 12, 46, and 42).
                                          5
 USCA11 Case: 23-11005      Document: 9     Date Filed: 04/27/2023   Page: 9 of 69



                     CERTIFICATE OF COMPLIANCE

      A Certificate of Compliance pursuant to Rule 32(g)(1) does not appear to be

necessary when responding to a jurisdictional question.

                                      s/ Thomas W. Poulton
                                      THOMAS W. POULTON, ESQ.
                                      Florida Bar No.: 0083798
                                      poulton@debevoisepoulton.com
                                      DeBEVOISE & POULTON, P.A.
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                                      Attorney for Defendants/Appellees
                                      Ivey, Fayson, Zimmerman and
                                      Wagner, Jr.




                                        6
 USCA11 Case: 23-11005       Document: 9       Date Filed: 04/27/2023   Page: 10 of 69



                          CERTIFICATE OF SERVICE

      I hereby certify that on this 27th day of April 2023, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

notice via electronic mail to counsel of record and I further certify that I served the

foregoing via U.S. mail to the following non-CM/ECF participant: Margarita

Rodriguez-Bonilla, 14410 Turin Lane, Centreville, VA 20121.

                                        s/ Thomas W. Poulton
                                        THOMAS W. POULTON, ESQ.
                                        Florida Bar No.: 0083798
                                        poulton@debevoisepoulton.com
                                        DeBEVOISE & POULTON, P.A.
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                                        Wagner, Jr.




                                           7
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 11 of 69




            EXHIBIT A
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 1 of 40 PageID 525
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 12 of 69


DEVON M. JACOB, ESQUIRE                                         BENJAMIN L. CRUMP, ESQUIRE
PA Bar Number: 89182                                            FL Bar Number: 72583
JACOB LITIGATION, INC.                                          BEN CRUMP LAW, PLLC
P.O. Box 837, Mechanicsburg, PA 17055-0837                      122 S. Calhoun Street, Tallahassee, Florida 32301
717.796.7733 | djacob@jacoblitigation.com                       (850) 224-2023 | court@bencrump.com
(Plaintiff’s Counsel)                                           (Plaintiff’s Counsel)



                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA (Orlando)

MARGARITA RODRIGUEZ-BONILLA,                                             No. 6:21-cv-428-JA-EJK
as the Successor Personal Representative of the
ESTATE OF GREGORY LLOYD EDWARDS,                                         District Judge: John Antoon, II

                                              Plaintiff,
                    v.

WAYNE IVEY,                           CIVIL ACTION – LAW
KELLY HAMAN,                          JURY TRIAL DEMANDED
GEORGE FAYSON,
RICHARD ZIMMERMAN,
ROBERT WAGNER, JR.,
FREDDY CEDENO,
ALLISON BLAZEWICZ,
DEBORA NADEAU,
AYANA ROBINSON,
YOLANDA JONES, and
ARMOR CORRECTIONAL HEALTH SERVICES, INC.,

                                              Defendants.


                                   SECOND AMENDED COMPLAINT1


           AND NOW comes the Plaintiff, MARGARITA RODRIGUEZ-BONILLA, as the

Successor Personal Representative of the ESTATE OF GREGORY LLOYD EDWARDS, by and

through her undersigned counsel, DEVON M. JACOB, ESQUIRE, and the law firm of JACOB




1
    Filed with written consent from opposing counsel pursuant to Fed.R.Civ.P. 15(a)(2).
                                                           1
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 2 of 40 PageID 526
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 13 of 69


LITIGATION, INC., and BENJAMIN L. CRUMP, ESQUIRE, and the law firm of BEN CRUMP

LAW, PLLC, and avers as follows:

    I. JURISDICTION AND VENUE

            1.   This action is brought pursuant to 42 U.S.C. § 1983.

            2.   Jurisdiction is founded upon 28 U.S.C. § § 1331, 1343, and 1367.

            3.   Venue is proper in this Court, as the Defendants’ actions that are alleged to have

caused injury to GREGORY LLOYD EDWARDS and/or his death, occurred in this federal

district.

    II. CERTIFICATION OF COUNSEL

        4.       Pursuant to Fla. Stat. Ann. § 766.104, undersigned counsel, Devon M. Jacob,

Esquire, hereby certifies that he made a reasonable investigation, as permitted by the

circumstances, for the purpose of determining that there were grounds for a good faith belief that

there has been negligence in the care and treatment of Plaintiff’s decedent that caused the decedent

to pain and suffering and physical and emotional injury.

        5.       That investigation gave rise to a good faith belief that grounds exist for an action

against each named defendant.

        6.       In accordance with Fla. Stat. Ann. § 766.203(2), before filing the Complaint (Doc.

1), Plaintiff, MARGARITA RODRIGUEZ-BONILLA, with the assistance of her undersigned

counsel, investigated the claims, and sent DEBORA NADEAU, AYANA ROBINSON,

YOLANDA JONES, and ARMOR CORRECTIONAL HEALTH, INC., via certified Priority Mail

Express 2-Day delivery (certified delivered on December 7, 2020), a notice of intent to initiate

litigation, along with a corroborating opinion from a medical expert.




                                                  2
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 3 of 40 PageID 527
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 14 of 69


       7.      The notice of intent and the corroborating expert opinion clearly discussed the

manner in which the Defendants deviated from the standard of care, causing the decedent’s

medical condition to continue to deteriorate.

       8.      In a letter dated January 6, 2021, Defense counsel advised undersigned counsel in

relevant part, that “[t]hese failures include, but are not necessarily limited to, the lack of a

corroborating expert opinion that satisfies the standards set forth in Gooding v. University Hosp.

Bldg., Inc., 445 So. 2d 1015 (Fla. 1984) and Howell v. Balchunas 284 So. 3d 1180 (Fla. Dist. Ct.

App. 2019).”

       9.      In an Email dated January 7, 2021, undersigned counsel requested “a clarification

of the purported ‘failures’” so that the issue could be remedied if necessary.

       10.     In a letter dated January 13, 2021, however, after acknowledging receipt of the

Email, defense counsel merely repeated, without clarification, “the Affidavit submitted in support

of the NOI does not comply with the requirements of Florida Statute Ch. 766.203(2) as discussed

in Gooding v. University Hosp. Bldg., Inc., 445 So. 2d 1015 (Fla. 1984) and Howell v. Balchunas,

284 So. 3d 1180 (Fla. Dist. Ct. App. 2019).”

       11.     Regardless, the notice of intent and the corroborating expert opinion provided more

than adequate information for the Defendants to evaluate the merits of the claims asserted.

       12.     This is evidenced by the fact that the Defendants retained counsel; conducted their

own investigation of the medical care provided; conducted written discovery on the claims that

included Plaintiff responding to 34 Interrogatories and 27 document requests, and producing 625

pages of documents; Plaintiff executing a medical release so that Defendants could obtain copies

of medical records from 5 medical facilities; and Plaintiff agreeing to present for questioning and

to arrange for the Decedent’s wife to present for questioning (which Defendants opted to forego).


                                                 3
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 4 of 40 PageID 528
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 15 of 69


       13.     Furthermore, the Defendants retained Thomas D. Fowlkes, M.D., and served an

expert report from Dr. Fowlkes, in which he stated that he had reviewed the Notice of Intent, the

Affidavit from Plaintiff’s expert, the original complaint in the instant matter, the autopsy report,

jail security video, and numerous ARMOR policies and procedures. See Maldonado v. EMSA Ltd.

Partnership, 645 So. 2d 86, 89 (Fla. Dist. Ct. App. 1994) (“Clearly, if defendant did not have

sufficient information to evaluate the merits of the claim it would have been unable to provide a

responding affidavit.”)

       14.     Notably, Dr. Fowlkes did not state in his report that he did not understand the Notice

of Intent, the Affidavit from Plaintiff’s expert, Plaintiff’s medical negligence claims, or the

medical injury that Plaintiff alleged resulted from same.

       15.     To the contrary, Dr. Fowlkes stated, “I am knowledgeable and experienced in the

issues raised by this Notice of Intent and the conditions Gregory Lloyd Edwards experienced and

was treated for.”

       16.     Dr. Fowlkes opined in relevant part, “I disagree with the criticisms expressed in the

Notice of Intent and corresponding affidavit and it is my opinion that the care and treatment

provided to Gregory Lloyd Edwards by Armor Correctional Health Services, Inc., and its

employees and/ or agents, did not fall below the applicable standard of care and nothing they did

or did not do caused any injury to Gregory Lloyd Edwards.”

       17.     In a letter dated March 8, 2021 (rejecting the claim), defense counsel stated, “The

care rendered to Gregory Edwards complied with the applicable standard of care and was not the

cause of any alleged injury sustained. There are no reasonable grounds to conclude otherwise. In

support, please find enclosed the affidavit and CV of Thomas D. Fowlkes, M.D.”




                                                 4
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 5 of 40 PageID 529
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 16 of 69


       18.     Defense counsel then repeated his comment, again without clarification, stating,

“the lack of a corroborating expert opinion that satisfies the standards set forth in Gooding v.

University Hosp. Bldg., Inc., 445 So.2d 1015 (Fla. 1984) and Howell v. Balchunas, 284 So.3d

1180 (Fla. Dist. Ct. App. 2019).”

   III. IDENTIFICATION OF PARTIES AND MATERIAL WITNESSES

       19.     The Decedent is GREGORY LLOYD EDWARDS (“EDWARDS”), an adult, who

died on December 10, 2018, at the age of 38, in Brevard County, Florida. EDWARDS is survived

by his wife, Kathleen P. Edwards, and a minor child, KPE.

       20.     Plaintiff, MARGARITA RODRIGUEZ-BONILLA (“BONILLA”), is an adult,

who is domiciled in the Commonwealth of Virginia. On October 23, 2020, the Probate Division

of the Circuit Court of the 18th Judicial Circuit in and for Brevard County, Florida, issued Amended

Letters of Administration, appointing BONILLA, Successor Personal Representative of the Estate

of the ESTATE OF GREGORY LLOYD EDWARDS (“ESTATE”). BONILLA asserts claim on

behalf of the ESTATE and BENEFICIARIES as permitted by law.

       21.     Defendant, WAYNE IVEY (“IVEY”), is an adult, who during all relevant times,

was employed by Brevard County, as the Sheriff. IVEY is the policymaker for the BREVARD

COUNTY SHERIFF’S OFFICE (“SHERIFF’S OFFICE”), which is located at 700 S. Park

Avenue, Titusville, FL 32780. The SHERIFF’S OFFICE operates the Brevard County Jail

Complex, located at 860 Camp Road, Cocoa, FL 32927. IVEY (hereinafter “IVEY” or

“SHERIFF’S OFFICE”) is sued in his official capacity only.

       22.     Defendant, KELLEY HAMAN (“HAMAN”), is an adult, who during all relevant

times, was employed by the Brevard County Sheriff’s Office, as a Deputy, with the rank of Major.

HAMAN is sued in her individual capacity.


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Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 6 of 40 PageID 530
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 17 of 69


       23.     Defendant, GEORGE FAYSON (“FAYSON”), is an adult, who during all relevant

times, was employed by the Brevard County Sheriff’s Office, as a Deputy, with the rank of

Lieutenant. FAYSON is sued in his individual capacity.

       24.     Defendant, RICHARD ZIMMERMAN (“ZIMMERMAN”), is an adult, who

during all relevant times, was employed by the Brevard County Sheriff’s Office, as a Deputy, with

the rank of Sergeant. ZIMMERMAN is sued in his individual capacity.

       25.     Defendant, ROBERT WAGNER, JR. (“WAGNER”), is an adult, who during all

relevant times, was employed by the Brevard County Sheriff’s Office, as a Deputy and a Field

Training Officer (“FTO”). WAGNER is sued in his individual capacity.

       26.     Defendant, FREDDY CEDENO (“CEDENO”), is an adult, who during all relevant

times, was employed by the Brevard County Sheriff’s Office, as a Corrections Deputy. CEDENO

is sued in his individual capacity.

       27.     Defendant, ALLISON BLAZEWICZ (“BLAZEWICZ”), is an adult, who during

all relevant times, was employed by the Brevard County Sheriff’s Office, as a Corrections Deputy.

BLAZEWICZ is sued in her individual capacity.

       28.     Defendant, DEBORA NADEAU (“NADEAU”), is an adult, who during all

relevant times, was employed by, or an agent of, Armor Correctional Health Service, Inc., and/or

Brevard County Sheriff’s Office, as a licensed practical nurse. NADEAU is sued in her individual

capacity.

       29.     Defendant, AYANA ROBINSON (“ROBINSON”), is an adult, who during all

relevant times, was employed by, or an agent of, Armor Correctional Health Service, Inc., and/or

Brevard County Sheriff’s Office, as a licensed practical nurse. ROBINSON is sued in her

individual capacity.


                                               6
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 7 of 40 PageID 531
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 18 of 69


       30.     Defendant, YOLANDA JONES (“JONES”), is an adult, who during all relevant

times, was employed by, or an agent of, Armor Correctional Health Service, Inc., and/or Brevard

County Sheriff’s Office, as a licensed practical nurse. JONES is sued in her individual capacity.

       31.     Defendant,    ARMOR        CORRECTIONAL              HEALTH    SERVICES,      INC.

(“ARMOR”), is a for profit corporation with a principle address of 4960 SW 72nd Avenue, Suite

400, Miami, FL33155, registered with the Florida Department of State Division of Corporations.

ARMOR’S registered agent is CT Corporation System, 1200 South Pine Island Road, Plantation,

FL 33324.

   IV. MATERIAL FACTS

       32.     GREGORY LLOYD EDWARDS (“EDWARDS”) was a military veteran who

served as a combat medic.

       33.     As a result of his military service, EDWARDS suffered from Post-Traumatic Stress

Disorder (“PTSD”).

                     A. Gregory Edwards Arrested: Mental Health: Determined to be
                        Danger to Self and/or Others.

       34.     On Sunday, December 9, 2018, at approximately 11:15 AM, EDWARDS suffered

a PTSD mental health emergency while in the parking lot of the Walmart Supercenter, 845 Palm

Bay Road NE, West Melbourne, FL 32904, causing a disturbance.

       35.     West Melbourne Police Officers responded to the location and placed EDWARDS

under arrest for various criminal and probation related offenses.

       36.     During their on-scene investigation, West Melbourne Police Officers were advised:

               a.     EDWARDS suffered from PTSD, was not taking his prescribed

medications, had been acting strange for several days, and had not slept in four days.




                                                 7
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 8 of 40 PageID 532
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 19 of 69


                 b.      EDWARDS’ was experiencing a “psychotic episode,” and his wife was

concerned that EDWARDS might harm himself.

                 c.      EDWARDS was scheduled for an appointment the next day with the VA

Hospital.

        37.      West Melbourne Police Officers determined that EDWARDS suffered from a

mental illness, was presently a danger to himself and/or others, and required a mental health

examination.

        38.      As such, West Melbourne Police Officers prepared a Baker Act Form-522 for the

purpose of obtaining an emergency involuntary examination for Edwards.

                       B. Gregory Edwards Taken to Jail Not Hospital: Jail Accepts Edwards.

        39.      A West Melbourne Police Officer transported EDWARDS to the Brevard County

Jail Complex (“Jail”).

        40.      EDWARDS was not medically cleared before he was transported to the Jail.

        41.      Sgt. RICHARD ZIMMERMAN (“ZIMMERMAN”) and Field Training Officer

(“FTO”), ROBERT WAGNER, JR. (“WAGNER”) brought EDWARDS into the Jail and spoke

with the transporting officer.

        42.      Pursuant to FED.R.CIV.P. 11(b)(3), it is believed that the following “factual

contentions have evidentiary support or . . . will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery”:

                 a.      The West Melbourne Police Officer who transported Edwards

communicated to Sgt. ZIMMERMAN and FTO WAGNER all information known to the West

Melbourne Police Department regarding EDWARDS’ medical condition;


2
 The Florida Mental Health Act of 1971, commonly known as the “Baker Act,” authorizes among others, a law
enforcement officer, to require an emergency involuntary institutionalization and examination of an individual.
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Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 9 of 40 PageID 533
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 20 of 69


                  b.     The West Melbourne Police Officer who transported Edwards

communicated to Sgt. ZIMMERMAN and FTO WAGNER all information known to the West

Melbourne Police Department regarding the facts and circumstances that resulted in EDWARDS

being taken into custody;

                  c.     The West Melbourne Police Officer who transported Edwards

communicated to Sgt. ZIMMERMAN and FTO WAGNER that EDWARDS was suffering from

a serious medical emergency requiring immediate medical treatment;

                  d.     The West Melbourne Police Officer who transported Edwards

communicated to Sgt. ZIMMERMAN and FTO WAGNER that EDWARDS suffered from a

mental illness;

                  e.     The West Melbourne Police Officer who transported Edwards

communicated to Sgt. ZIMMERMAN and FTO WAGNER that EDWARDS was a danger to

himself or others;

                  f.     The West Melbourne Police Officer who transported Edwards

communicated to Sgt. ZIMMERMAN and FTO WAGNER that EDWARDS needed immediate

emergency medical care authorized by the Baker Act.

       43.        On Sundays, the Brevard County Jail Complex is not equipped or staffed to provide

the immediate emergency medical care authorized by the Baker Act, and necessary to treat

EDWARDS’ serious medical condition.

       44.        Despite knowing the aforementioned, corrections personnel agreed to take custody

of EDWARDS.

       45.        As a result, EDWARDS did not timely receive the emergency medical care

authorized by the Baker Act, and necessary to treat his serious medical condition.


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Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 10 of 40 PageID 534
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 21 of 69


       46.     As a further result, EDWARDS’ already serious medical condition continued to

deteriorate.

       47.     The deliberate failure to provide EDWARDS with necessary and timely emergency

medical care while EDWARDS was in custody was a substantial cause of EDWARDS’ death.

       48.     When EDWARDS arrived at the Jail, he appeared dazed and confused, but was

compliant.

       49.     EDWARDS changed into an orange Jail jumpsuit, and instead of being provided

with necessary medical care, he was placed in holding cell 7, reportedly to calm down from the

Walmart incident.

                    C. Major Kelly Haman: Notified of Gregory Edwards’ Physical and
                       Mental Condition: Edwards Mental Health Deteriorates While He Is
                       Ignored For Approximately 30 Minutes.

       50.     Major KELLY HAMAN (“HAMAN”) saw EDWARDS in cell 7, and upon inquiry

to deputies, was informed that EDWARDS had been arrested after a use of force.

       51.     For approximately 30 minutes, no one checked on EDWARDS.

       52.     During that period of time, EDWARDS’ mental status deteriorated.

       53.     Specifically, on a security video, EDWARDS can be observed talking to himself,

staring at the wall, and appearing to change between calm and irritated moods.

       54.     FTO WAGNER entered the cell to provide EDWARDS with a bagged lunch, and

observed EDWARDS’ agitated state.

       55.     EDWARDS engaged in various types of exercises, shadow boxing, throwing his

lunch around, and pacing.




                                               10
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 11 of 40 PageID 535
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 22 of 69


        56.    EDWARDS became increasingly agitated, culminating in EDWARDS banging on

the cell door window in an apparent attempt to gain the attention of deputies who had been ignoring

him.

                    D. Cpl. Brian Otto and Edwards: Physical Altercation.

        57.    Cpl. Brian Otto (“Otto”) came to cell 7 to retrieve EDWARDS to continue with the

Booking process, alone.

        58.    Otto recognized that EDWARDS was not mentally well, as evidenced by his later

statement to investigators that EDWARDS was “not processing” when he took him from the cell.

        59.    While being escorted by Otto, EDWARDS shook his left arm in an apparent failed

attempt to remove Otto’s hand from his shoulder.

        60.    EDWARDS made movements appearing to prepare to strike Otto but he did not do

so.

        61.    Apparently intending to take EDWARDS to the ground, Otto responded with a

failed leg sweep.

        62.    Otto ended up causing both EDWARDS and himself to fall to the ground.

        63.    When he did so, Otto appeared to bang his head on the ground.

        64.    On the way to the ground, EDWARDS appeared to throw a punch that did not

connect.

        65.    FTO WAGNER, apparently trying to tackle EDWARDS, ended up tripping over

EDWARDS, providing EDWARDS with an opportunity to strike Otto twice in the back of his

head.




                                                11
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 12 of 40 PageID 536
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 23 of 69


                        E. Supervisors Arrive on Scene: Direct Excessive Force.

        66.      Sgt. ZIMMERMAN, apparently attempting to apply a wrist lock technique on

EDWARDS, ended up instead causing Otto’s head to become stuck under EDWARDS’ arm.

        67.      WAGNER punched EDWARDS with a closed fist several times in one of his legs

and back, while Deputy Shannon Popielarczyk (“Popielarczyk”) held EDWARDS’ legs.

        68.      Deputy FREDDY CEDENO (“CEDENO”) took over Popielarczyk’s position.

        69.      Otto freed himself, pepper sprayed EDWARDS, and then deployed several hard

strikes to EDWARDS’ torso, before walking away.3

        70.      Shift commander, Lt. GEORGE FAYSON (“FAYSON”), responded to the

location, called for more deputies to respond, and then instead of supervising, delivered several

knee strikes to one of EDWARDS’ upper thighs.

        71.      Due to the lack of skilled supervision, the incident devolved into a deputy pile-on

of EDWARDS.

        72.      At one point, approximately nine deputies, each vying for a place in the frenzied

pack, proceeded to use force against EDWARDS.

        73.      The mob excitement is apparent even on the silent security video where deputies

can be seen trying to get in on the action.

        74.      Based on the number of deputies engaged in the aggressive and uncoordinated use

of force against EDWARDS, it was impossible for EDWARDS to comply with any request to

move in any manner.

        75.      Yet, the deputies continued to swarm around EDWARDS, crushing, twisting, and

striking his body and extremities, until EDWARDS disappeared under the attacking mass.


3
 Notably, and inexcusably, Sheriff Ivey, the Major Crimes Unit, Staff Services Unit, and FDLE, all relay a version
of the events that does not track the security video.
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Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 13 of 40 PageID 537
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 24 of 69


         76.   Major HAMAN instructed Deputy ALLISON BLAZWICZ (“BLAZWICZ”) to use

her Model X26 Taser against EDWARDS, and authorized multiple deployments.

         77.   BLAZWICZ fired her Taser into EDWARDS’ lower back and then used the Taser

in drive-stun mode against EDWARDS.

         78.   The Taser log recorded 6 trigger pulls – a total activation time of 49 seconds – over

just a 1 minute and 33 seconds period of time.

         79.   Three of the trigger pulls were for 5 seconds, and three of the trigger pulls ranged

from 10-13 seconds.

         80.   ZIMMERMAN placed EDWARDS’ head between his knees and applied a pressure

point technique on EDWARDS.

         81.   Dashawn Edward (“Edward”) assisted in applying handcuffs to EDWARDS.

         82.   Approximately five minutes into the use of force incident, EDWARDS was

handcuffed to the rear.

                      F. Supervisors Orders: Restraint Chair and Spit-Mask: No
                         Decontamination and No Medical Assessment: Falsified Armor
                         Medical Records.

         83.   Lt. FAYSON directed that EDWARDS be secured in a restraint chair.

         84.   Lt. FAYSON further directed that EDWARDS remain handcuffed to the rear while

he was restrained in the restraint chair.

         85.   Four deputies lifted a visibly limp-bodied (but alive) EDWARDS from the floor

and placed him into the restraint chair.

         86.   Despite EDWARDS’ non-resistance, ZIMMERMAN held EDWARDS’ head and

applied a pressure point technique to EDWARDS while he was being restrained in the restraint

chair.


                                                 13
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 14 of 40 PageID 538
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 25 of 69


        87.     FTO WAGNER punched EDWARDS several times in the leg, claiming

EDWARDS would not permit his leg to be restrained.

        88.     It is likely that any perceived resistance to being further restrained was likely just a

reflexive response to the unnecessary pressure point force techniques being applied.

        89.     Up to seven deputies participate in restraining EDWARDS in the restraint chair

while his arms were still handcuffed to the rear and the Taser barbs remain lodged in his lower

back.

        90.     Despite the fact that EDWARDS was no longer resisting, and was not spitting,

Major HAMAN directed that a spit-mask be placed over EDWARDS’ head.

        91.     While Lt. FAYSON and Major HAMAN observed, Deputy CEDENO and

ZIMMERMAN placed a spit-mask over EDWARDS’ head without first decontaminating him

from the pepper spray.

        92.     All of the Defendants present should have understood that the prolonged Taser use,

coupled with mechanical asphyxiation and physical assault, likely increased the lactic acid

accumulating in EDWARDS’ body.

        93.     At the very least, the Defendants knew that EDWARDS required medical care but

failed to provide it to him.

        94.     Despite official reports indicating otherwise, at no time did a nurse check the

restraint chair straps as required by policy to ensure that EDWARDS’ breathing and circulation

were not impaired.

        95.     Despite having not performed an assessment, Nurse DEBORA NADEAU

(“NADEAU”) indicated in the medical record that EDWARDS’ CMS (circulation, motion, and

sensation) were intact, and that his respiratory status was unlabored.


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Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 15 of 40 PageID 539
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 26 of 69


          96.    Nurse AYANA ROBINSON (“ROBINSON”) indicated in the medical record that

while EDWARDS was restrained in the restraint chair he was spitting.

          97.    However, this was merely an assumption that Nurse ROBINSON had made from

the fact that he was wearing a spit-mask.

          98.    Both Nurses, YOLANDA JONES (“JONES”) and ROBINSON, noted in the

medical record that EDWARDS was disoriented and confused but then failed to perform a medical

assessment of his medical condition.

                        G. Wheeled Into Cell 9: Door Closed: Not Monitored: Allowed to
                           Slowly Suffocate Alone.

          99.    About 10 minutes after EDWARDS was restrained in the restraint chair, Deputy

EDWARD wheeled EDWARDS into holding cell 9, and at 2:07 PM, closed the cell door.

          100.   WAGNER has since admitted that while EDWARDS could be seen by people who

were working in Booking, no supervisor assigned anyone to monitor EDWARDS while he was in

cell 9.

          101.   For the next 16 minutes, EDWARDS struggled and flexed against the restraints.

          102.   Horrifically, EDWARDS visibly struggled to breathe – like a fish out of water –

his mouth open and pressed against the spit-mask material.

          103.   Deputies ignored EDWARDS while he struggled alone.

          104.   EDWARDS’ inability to breathe deeply and unrestricted likely further complicated

the medical emergency that was developing.

          105.   At 2:16 PM, Nurse NADEAU and FTO WAGNER peered into the cell through the

cell door window for approximately seven seconds.

          106.   NADEAU told investigators that she heard EDWARDS yelling.




                                                15
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 16 of 40 PageID 540
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 27 of 69


       107.    Despite knowing that EDWARDS had arrived at the facility in an agitated and

combative state; had engaged in a significant physical altercation with numerous guards; had been

subjected to the use of a Taser and pepper spray, and had not yet been decontaminated; was

restrained in a restraint chair with his hands handcuffed behind him; had Taser barbs still in his

back, and a spit-mask on his head; and had not had vital signs checked after the altercation, or his

respiratory status assessed after being exposed to pepper spray; NADEAU, who was assigned to

Booking, failed to initially assess Edwards or continually monitor his medical condition.

       108.    Instead, NADEAU walked away, again leaving EDWARDS alone.

       109.    Despite not assessing EDWARDS, NADEAU indicated in the medical records that

EDWARDS was alert and oriented.

       110.    EDWARDS’ desperation and distress visibly increased.

       111.    EDWARDS’ moved his head to the side and back, his mouth continued to be open,

and his legs pulled against the restraints.

       112.    EDWARDS threw his head forward several times and his chest flexed.

       113.    Six minutes after NADEAU walked away from the struggling EDWARDS,

EDWARDS fell limp; except for periodic twitching.

                       H. Gregory Edwards: Unresponsive: Priority One: Remove Taser
                          Barbs?: Wheeled to Medical Unit Instead of Transferred to
                          Hospital.

       114.    At approximately 2:23 PM, after personnel finally discovered EDWARDS’ new

medical emergency, the cell door opened and personnel enter.

       115.    Lt. FAYSON removed the spit-mask from EDWARDS and WAGNER

administered a sternum rub, which yielded no response.




                                                16
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 17 of 40 PageID 541
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 28 of 69


       116.    Instead of providing EDWARDS with immediate necessary emergency medical

care, deputies loosened the restraint chair straps and worked for several minutes to remove the

Taser barbs from EDWARDS’ back.

       117.    It was not until 2:26 PM that NADEAU entered the cell and administered a sternum

rub, which again yielded no response.

       118.    This was the first time that NADEAU conducted any assessment of EDWARDS.

       119.    Despite being unresponsive to painful stimuli, EDWARDS was left in the restraint

chair and NADEAU administered oxygen with a non-rebreather mask.

       120.    In the medical records, however, NADEAU failed to report her use of a sternal rub

and EDWARDS’ failure to respond to painful stimuli.

       121.    Instead, NADEAU reported that EDWARDS was unresponsive, and that she

applied an oxygen mask.

       122.    She further reported that EDWARDS’ chest was moving and he was blinking his

eyes but that he was not responsive to verbal commands.

       123.    Finally, she indicated that EDWARDS’ oxygen saturation was 98% but failed to

note that EDWARDS was being administered oxygen at 15L.

       124.    Both Nurses, JONES and ROBINSON, similarly reported that they observed

EDWARDS in the restraint chair, unresponsive, with an oxygen mask on his face, with shallow

breathing.

       125.    Instead of insisting that 911 be initiated immediately to have EDWARDS

transferred to a hospital for necessary emergency medical care, NADEAU, JONES, and

ROBINSON, permitted security officers to transport EDWARDS, unresponsive and still restrained

in the restraint chair, with oxygen, to the medical unit for further evaluation by the charge nurse.


                                                 17
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 18 of 40 PageID 542
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 29 of 69


       126.     EDWARDS was left in the restraint chair for 10 minutes before he was removed to

be transported to medical.

       127.     Due to the security doors in place on the path to the medical unit, it would have

taken an estimated three to five minutes for EDWARDS to be transferred from Booking to the

Medical Unit.

                       I. Heartrate Slows to a Stop, and Then Restarted: Hypoxic Brain
                          Injury: Both Evidence of Suffocation.

       128.     NADEAU failed to communicate to the charge nurse the entirety of her knowledge

regarding what had transpired with EDWARDS between the time that he arrived at the facility and

then arrived in the medical unit.

       129.     Upon arrival in the medical unit, oxygen was being administered at 15L via a non-

rebreather mask with EDWARDS having only very shallow breathing.

       130.     The charge nurse performed a sternum rub with no response.

       131.     Recognizing the dire situation, the charge nurse immediately advised a Sergeant to

call 911.

       132.     JONES reported that EDWARDS’ breathing was shallower when he arrived in

medical than when he left Booking.

       133.     Shortly after arriving in the Medical Unit, EDWARDS went into respiratory arrest.

       134.     EDWARDS was removed from the restraint chair and placed on a backboard.

       135.     At 2:38 PM, CPR was initiated.

       136.     At 2:49 PM, Brevard County Fire Rescue EMS arrived and took over medical care.

       137.     Once EMS arrived and took over care, the charge nurse called NADEAU in

Booking to gather more information on EDWARDS.

       138.     NADEAU reported that Edwards was “fine” when he left Booking.

                                                 18
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 19 of 40 PageID 543
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 30 of 69


       139.    In the event that that were true, the oxygen administration should not have been set

at 15L, as oxygen toxicity (oxygen poisoning) could result, which could in turn cause respiratory

depression, respiratory arrest, and in severe cases, death.

       140.    In the alternative, if EDWARDS’ medical condition when he left Booking was such

that 15L of oxygen was appropriate, 911 should have been initiated and EDWARDS should have

been immediately transferred from Booking to a hospital for emergency medical treatment.

       141.    Approximately 20 minutes later, EDWARDS was removed from the Jail to be

transferred to the Rockledge Regional Medical Center.

       142.    EDWARDS’ breathing and heart slowed to a stop.

       143.    Prior to his arrival at the hospital, however, EDWARDS’ pulse returned.

       144.    EDWARDS arrived at the hospital with a hypoxic brain injury.

       145.    EDWARDS was placed on life support.

       146.    On December 10, 2018, at 8:00 PM, EDWARDS was pronounced dead.

       147.    While the Defendants failed to monitor EDWARDS, he suffocated very slowly and

painfully, and for much of the time, was conscious and believed that he was going to die.

       148.    The Defendants, however, claim that EDWARDS died from Excited Delirium

Syndrome, not from the 16 minutes of terrifying suffocation.

                         J. Crime Scene Not Secured: Material Evidence in Death
                            Investigation – Spit-Mask – Discarded.

       149.    Despite being the law enforcement agency initially responsible for conducting the

death investigation, the Sheriff Defendants failed to secure the crime scene.

       150.    In addition, WAGNER directed an inmate to clean cell 9.

       151.    Before doing so, HAMAN, FAYSON, ZIMMERMAN, and/or WAGNER never

had the crime scene processed in accordance with standard investigation techniques in the industry.

                                                 19
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 20 of 40 PageID 544
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 31 of 69


       152.    The inmate who cleaned cell 9 discarded the spit-mask that was used on

EDWARDS.

       153.    As a result, the condition of the spit-mask, i.e., the breathability of the material,

whether the material was covered with body fluids, etc., could not be assessed.

                       K. Sheriff WAYNE IVEY: Deficient Policies and Training.

       154.    Sheriff WAYNE IVEY (“IVEY”) is the duly elected Sheriff of Brevard County.

       155.    IVEY is the final policymaker for the BREVARD COUNTY SHERIFF’S OFFICE

(“SHERIFF’S OFFICE”) and the Jail.

       156.    Pursuant to FED.R.CIV.P. 11(b)(3), it is believed that the following “factual

contentions have evidentiary support or . . . will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery”:

               a.      IVEY knowingly failed to implement supervisor policies and/or training for

the jail that met the industry standard.

               b.      IVEY knowingly failed to implement intake and booking policies and/or

training that met the industry standard.

               c.      IVEY knowingly failed to implement medical screening policies and/or

training that met the industry standard.

               d.      IVEY knowingly failed to implement mental health and Baker Act policies

and/or training that met the industry standard.

               e.      IVEY permitted the use of pepper spray, electronic control weapons,

restraint chairs, and spit-masks, without first verifying the safety of each devices, or the safety of

the use of the devices in combination.




                                                  20
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 21 of 40 PageID 545
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 32 of 69


                f.      IVEY permitted the use of pepper spray, electronic control weapons,

restraint chairs, and spit-masks, in the Jail but failed to first implement policies and/or training that

met the industry standard to insure the health and safety of inmates and to protect inmates’ rights.

                g.      IVEY knowingly failed to implement inmate monitoring policies and/or

training that met the industry standard.

                h.      IVEY knowingly failed to implement medical policies and/or training that

met the industry standard to ensure that inmates received timely emergency medical care.

                i.      IVEY knowingly failed to implement internal affairs policies and/or

training that met the industry standard to ensure that policy, training, or operational deficiencies

are timely discovered and corrected.

                j.      IVEY knowingly failed to implement independent death investigation

policies and/or training that met the industry standard to ensure that policy, training, or operational

deficiencies are timely discovered and corrected.

                k.      IVEY knowingly created a non-transparent culture that in addition to

creating public distrust, resulted in policy, training, and operational deficiencies not being timely

discovered and corrected.

        157.    NADEAU admits that she never assessed EDWARDS because of an unwritten

“rule” of ARMOR and/or IVEY that she was not to assess inmates until deputies told her that it

was safe for her to come out of her office to do so.

        158.    NADEAU advised that no deputy ever told her that it was safe to assess

EDWARDS.

        159.    On May 15, 2019, FAYSON submitted a notice of retirement to be effective June

3, 2019, a date prior to the completion of the administrative investigation.


                                                   21
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 22 of 40 PageID 546
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 33 of 69


                        L. Armor Correctional Health Services, Inc.: Policy, Practice and
                           Custom of Deliberate Indifference to Health and Safety of Inmates.

        160.    ARMOR CORRECTIONAL HEALTH SERVICES, INC. (“ARMOR”) is a for

profit corporation.

        161.    The BSO and ARMOR entered into a contract whereby ARMOR would provide

healthcare services to inmates housed at the Jail.

        162.    Pursuant to FED.R.CIV.P. 11(b)(3), it is believed that the following “factual

contentions have evidentiary support or . . . will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery”:

                a.      Dr. Jose J. Armas is the founder and president of ARMOR, and a

policymaker of ARMOR.

                b.      During the relevant period of time, Dr. Jorge Gillette was the sole physician

overseeing the provision of medical care at the Jail on behalf of ARMOR and IVEY, and as such,

was a policymaker of ARMOR.

                c.      Prior to and through the date of EDWARDS’ death, ARMOR with the

knowledge and consent of its policymakers, had a policy, practice, and/or widespread custom, of

providing deficient medical care for the purpose of increasing corporate profits.

                d.      Prior to EDWARDS’ death, ARMOR had at least a decade long history that

included approximately 34 lawsuits alleging that ARMOR had contributed to causing deaths

through deficient medical care in numerous facilities in which ARMOR provided medical care.4




4
 https://www.miaminewtimes.com/news/jail-health-care-company-armor-correctional-accused-of-multiple-inmate-
deaths-11268351
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Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 23 of 40 PageID 547
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 34 of 69


               e.      ARMOR paid significant sums of money to settle legal claims alleging

deficient medical care resulting in injury and/or death, which indicates that ARMOR believed that

there was at least some evidence to support the claims.

               f.      ARMOR had contracts not renewed or cancelled due to its failure to meet

contractual obligations related to the provision of medical care.

               g.      ARMOR has been the subject of government investigations and criminal

charges related to the provision of deficient medical care.

               h.      On or about February 11, 2011, William Campbell died of sepsis in the

Broward County Jail in Florida, a facility at which ARMOR provided health services, and that

death was preventable.

               i.      On or about October 10, 2011, Gary Joseph Smith died of pneumonia in the

Broward County Jail in Florida, a facility at which ARMOR provided health services, and that

death was preventable.

               j.      On or about January 2, 2012, Calvin Goldsmith died of sepsis in the

Broward County Jail in Florida, a facility at which ARMOR provided health services, and that

death was preventable.

               k.      Around May 2012, Allen Daniel Hicks, Sr., suffered a stroke, became

comatose, and died while in the custody of the Hillsborough County Sheriff’s Office at a facility

where ARMOR provided health services, and that death was preventable.

               l.      On or about July 7, 2012, Arthur Sacco died of sepsis in the Broward

County Jail in Florida, a facility at which ARMOR provided health services, and that death was

preventable.




                                                23
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 24 of 40 PageID 548
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 35 of 69


               m.     On or about July 10, 2012, Raleigh Priester died of starvation in the

Broward County Jail in Florida, a facility at which ARMOR provided health services, and that

death was preventable.

               n.     On or about December 24, 2012, William Herring, Jr., died of starvation in

the Broward County Jail in Florida, a facility at which ARMOR provided health services, and that

death was preventable.

               o.     On or about January 7, 2015, Simon Valacheryil died of a gastrointestinal

bleed and infectious pericarditis in the Broward County Jail in Florida, a facility at which ARMOR

provided health services, and that death was preventable.

               p.     On or about May 7, 2015, Daniel K. Davies was relegated to a vegetative

and/or comatose and/or brain-damaged state in the Broward County Jail in Florida, a facility at

which ARMOR provided health services, and that/those severe medical conditions were

preventable.

               q.     On or about April 1, 2016, Scott Burrell died of peritonitis in the Broward

County Jail in Florida, a facility at which ARMOR provided health services, and that death was

preventable.

               r.     On or about April 5, 2016, Stephen Obremski died of a gastrointestinal

hemorrhage in the Broward County Jail in Florida, a facility at which ARMOR provided health

services, and that death was preventable.

               s.     On or about May 16, 2016, April Farrah died of a gastrointestinal

hemorrhage in the Broward County Jail in Florida, a facility at which ARMOR provided health

services, and that death was preventable.




                                               24
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 25 of 40 PageID 549
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 36 of 69


              t.      On or about July 31, 2013, David Moore was in the Sarasota County Jail,

which was serviced by ARMOR, and suffered a traumatic brain injury and was denied access to

necessary medical care.

              u.      On or about December 25, 2014, Amanda Whidden, a detainee in the

Manatee County Jail, serviced by ARMOR, had complications from withdrawal and was denied

access to necessary medical care.

              v.      In or around April 2014, Christopher Datta was a detainee in the Sarasota

County Jail, which was serviced by ARMOR, and was denied access to necessary medical care.

              w.      In or about April 2016, nurses employed by ARMOR demonstrated a

pattern of intentionally falsifying health care records within the course and scope of their

employment, and ARMOR was subsequently criminally charged. See State of Wisconsin v. Armor

Correctional Health Services, Inc., 2018-ML-4041, Milwaukee County, Wisconsin, Circuit Court.

              x.      On or about July 11, 2016, the State of New York, by and through its

Attorney General, Eric T. Schneiderman, Esquire, filed a verified petition in the Supreme Court

for the County of New York against ARMOR. See The People of the State of New York v. Armor

Correctional Health Medical Services of New York, Inc., P.C., et. al., Index No. 450835/2016,

New York County, New York, Supreme Court. The verified petition states that between 2011 and

July of 2016, a total of 14 deaths occurred at Nassau and Niagara counties jails serviced by

ARMOR, and the New York State Commission of Correction’s Medical Review Board, which

was charged with the oversight of jail and prison health care and the investigation of related

morbidity and mortality incidents, “found egregious lapses in medical care in seven of the 14

deaths.” It further states that the New York Attorney General’s own investigation revealed that

ARMOR had not met its contractual obligations to Nassau County, New York, had inadequate


                                              25
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 26 of 40 PageID 550
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 37 of 69


self-assessments or self-audits, inadequate continuous quality improvement processes, inadequate

diagnostic services, inadequate referrals to specialists, inadequate staffing, and failure to maintain

its equipment and accurate and complete medical records.

                y.      Through the aforementioned complaints and incidents, all prior to

EDWARDS’ death, ARMOR was on notice that it failed to provide medical intake, medical

assessments, mental health services, physician involvement, and hospital referrals, in accordance

with industry standards, resulting in injuries and/or death.

                z.      Despite this notice, ARMOR never corrected the aforementioned

deficiencies.

                aa.     Prior to EDWARDS’ death, Armas and Gillette were on notice that

ARMOR’S policy, practice, and/or custom of failing to provide medical intake, medical

assessments, mental health services, physician involvement, and hospital referrals, in accordance

with industry standards, was occurring at the Jail.

                bb.     Despite this notice, ARMOR, Armas, and Gillette, never corrected the

aforementioned deficiencies.

                cc.     The aforementioned deficiencies were a proximate cause of EDWARDS’

untimely death in that NADEAU, ROBINSON, and JONES’ conduct was in accordance with, and

a direct result of, these deficiencies.

V.      CLAIMS

                                              Count I

                         Plaintiff v. Defendants, Haman, Fayson,
           Wagner, Zimmerman, Cedeno, Blazewicz, Nadeau, Robinson, and Jones
                             Objectively Unreasonable Force
            Fourteenth Amendment – Due Process (Pursuant to 42 U.S.C. § 1983)

        163.    Paragraphs 1 to 162 are incorporated herein by reference.

                                                 26
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 27 of 40 PageID 551
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 38 of 69


        164.    EDWARDS was a pretrial detainee.

        165.    All Defendants named herein were state actors.

        166.    A pretrial detainee’s Fourteenth Amendment excessive-force claim is governed by

a rule of “objective reasonableness.” Kingsley v. Hendrickson, 576 U.S. 389, 396-97 (2015) (“[A]

pretrial detainee must show only that the force purposely or knowingly used against him was

objectively unreasonable.”); Piazza v. Jefferson Cty., 923 F.3d 947, 951 (11th Cir. 2019).

        167.    The Defendants used the following objectively unreasonable uses of force either

individually or collectively:

                a.      Permitted more persons than necessary to simultaneously use uncoordinated

force against EDWARDS;

                b.      Used or permitted uses of force that did not comply with training;

                c.      Used or permitted excessive use of an electronic control weapon on

EDWARDS;

                d.      Authorized or placed EDWARDS in a restraint chair while his hands were

still handcuffed to the rear;

                e.      Failed to decontaminate EDWARDS after exposing him to pepper spray;

                f.      Authorized or placed a spit-mask over EDWARDS’ head without first

decontaminating him from pepper spray;

                g.      Left EDWARDS restrained with a spit-mask on his head, while he suffered

from a medical emergency;

                h.      Caused or permitted EDWARDS to slowly suffocate and suffer for in

excess of 16 minutes, until he was rendered unconscious;




                                                 27
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 28 of 40 PageID 552
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 39 of 69


               i.     Authorized or failed to remove EDWARDS from restraints while he

suffered from a medical emergency.

       168.    As a direct and proximate cause of the Defendants’ actions, EDWARDS suffered

emotional and physical injury, physical pain and suffering, and ultimately, death.

                                             Count II

                        Plaintiff v. Defendants, Haman, Fayson,
          Wagner, Zimmerman, Cedeno, Blazewicz, Nadeau, Robinson, and Jones
                    Deliberate Indifference to Serious Medical Needs
           Fourteenth Amendment – Due Process (Pursuant to 42 U.S.C. § 1983)

       169.    Paragraphs 1 to 162 are incorporated herein by reference.

       170.    EDWARDS was a pretrial detainee.

       171.    All Defendants named herein were state actors.

       172.    In order to prove deliberate indifference to a serious medical need, a Plaintiff must

demonstrate (1) a government official’s subjective knowledge of a risk of serious harm; (2) the

government official’s disregard of the risk; (3) by conduct that is more than mere negligence. See

Nam Dang, by and through Vina Dang v. Sheriff, Seminole Cty. Fla., 871 F.3d 1272, 1280 (11th

Cir. 2017).

       173.    Deliberate indifference may be established by a failure to provide medical care

and/or by excessive delay in providing medical care. Lelieve v. Chief of Police Manuel Oroso, 846

F.Supp.2d 1294, 1304 (S.D. Fla. Feb. 14, 2012).

       174.    Each Defendant understood that EDWARDS suffered from a mental illness and

was a danger to himself or others.

       175.    Each Defendant knew that EDWARDS needed immediate emergency medical care

but deliberately failed to provide EDWARDS with access to the requisite care.

       176.    Each Defendant knew that EDWARDS had not received a medical assessment.

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Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 29 of 40 PageID 553
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 40 of 69


       177.     Despite knowing that EDWARDS had arrived at the facility in an agitated and

combative state; had engaged in a significant physical altercation with numerous guards; had been

subjected to the use of a Taser and pepper spray, and had not yet been decontaminated; was

restrained in a restraint chair with his hands handcuffed behind him; had Taser barbs still in his

back, and a spit-mask on his head; and had not had vital signs checked after the altercation, or his

respiratory status assessed after being exposed to pepper spray; the Defendants failed to

continually monitor his medical condition.

       178.     The Defendants failed to timely transfer EDWARDS to a hospital for emergency

medical care.

       179.     As a direct and proximate cause of the Defendants’ actions, EDWARDS suffered

emotional and physical injury, physical pain and suffering, and ultimately, death.

                                             Count III

            Plaintiff v. Defendants Fayson, Haman, Zimmerman, and Wagner
        Fourteenth Amendment – Supervisory Liability (Pursuant to 42 U.S.C. § 1983)

       180.     Paragraphs 1 to 162 are incorporated herein by reference.

       181.     EDWARDS was a pretrial detainee.

       182.     All Defendants named herein were state actors.

       183.     “Supervisory liability occurs either when the supervisor personally participates in

the alleged constitutional violation or when there is a causal connection between actions of the

supervising official and the alleged constitutional deprivation.” Brown v. Crawford, 906 F.2d 667,

671 (11th Cir. 1990).

       184.     Haman, Fayson, Zimmerman, and Wagner, were supervisors.

       185.     Haman, Fayson, Zimmerman, and Wagner, personally participated in causing

EDWARDS’ constitutional injuries.

                                                29
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 30 of 40 PageID 554
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 41 of 69


       186.    As a direct and proximate cause of the Defendants’ actions, EDWARDS suffered

emotional and physical injury, physical pain and suffering, and ultimately, death.

                                            Count IV

                       Plaintiff v. Defendants, Haman, Fayson,
         Wagner, Zimmerman, Cedeno, Blazewicz, Nadeau, Robinson, and Jones
         Fourteenth Amendment – Duty to Intervene (Pursuant to 42 U.S.C. § 1983)

       187.    Paragraphs 1 to 162 are incorporated herein by reference.

       188.    EDWARDS was a pretrial detainee.

       189.    All Defendants named herein were state actors.

       190.    To establish a failure to intervene claim, a Plaintiff must establish that a Defendant

officer was in a position to intervene to stop another officer’s unlawful conduct and had an

appreciable opportunity to do so. See Riley v. Newton, 94 F.3d 632, 635 (11th Cir. 1996)

       191.    The Defendants each had an appreciable opportunity and duty to intervene to stop

each other’s unlawful conduct but failed to do so.

       192.    The Defendants each had an appreciable opportunity and duty to intervene on

EDWARDS’ behalf to ensure his physical and medical safety but failed to do so.

       193.    As a direct and proximate cause of the Defendants’ actions, EDWARDS suffered

emotional and physical injury, physical pain and suffering, and ultimately, death.

                                             Count V

                Plaintiff v. Defendants, Ivey (Official Capacity) and Armor
                               Policies, Practices, and Customs
               Fourteenth Amendment – Monell (Pursuant to 42 U.S.C. § 1983)

       194.    Paragraphs 1 to 162 are incorporated herein by reference.

       195.    EDWARDS was a pretrial detainee.

       196.    All Defendants named herein were state actors.


                                                30
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 31 of 40 PageID 555
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 42 of 69


        197.     The Defendants deliberately implemented or failed to implement policies and

practices as discussed above, which was the moving force that caused EDWARDS’ constitutional

injuries.

        198.     As a direct and proximate cause of the Defendants’ actions, EDWARDS suffered

emotional and physical injury, physical pain and suffering, and ultimately, death.

                                              Count VI

            Plaintiff v. Individual Sheriff’s Office Defendants (Individual Capacities)
                  Willful and Wanton Negligence Causing Injury and/or Death
            (Pursuant to Fla. Stat. § 768.28; Florida’s Survival Act, Fla. Stat. § 46.021;
                  and Florida’s Wrongful Death Act, Fla. Stat. §§ 768.16, et seq.)

        199.     Paragraphs 1 to 162 are incorporated herein by reference.

        200.     All statutory prerequisites were timely and properly completed prior to the filing of

this claim.

        201.     EDWARDS was a pretrial detainee in the care, custody, or control of the Individual

Sheriff’s Office Defendants.

        202.     Each Defendant either directly or indirectly owed EDWARDS a duty to exercise

reasonable care in safeguarding EDWARDS while he was in the custody of the SHERIFF’S

OFFICE and Jail, and to refrain from acting in a manner exhibiting wanton and/or willful disregard

for EDWARDS’ human rights and/or safety. See Fla. Stat. § 768.28(9)(a).

        203.     As specifically discussed above, the Defendants each breached this duty by

wantonly and/or willfully disregarding EDWARDS’ human rights and/or safety.

        204.     As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARDS suffered emotional and physical injury, pain, and suffering.




                                                  31
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 32 of 40 PageID 556
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 43 of 69


       205.    Pursuant to Florida’s Survival Act, Fla. Stat. § 46.021, Plaintiff seeks damages on

behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S wife, minor child, and

survivors, for all harm and injuries suffered by EDWARDS that did not directly cause his death.

       206.    In addition to, or in the alternative, as a direct and proximate cause of the

Defendants’ aforementioned actions, EDWARDS suffered emotional and physical injury, pain,

suffering, and death.

       207.    As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARD’S wife, minor child, and survivors, suffered emotional and financial injuries.

       208.    No other legal action has been initiated on behalf of EDWARDS’ survivors related

to the conducted discussed herein.

       209.    On behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S

wife, minor child, and survivors, Plaintiff seeks all available damages as provided by Florida’s

Wrongful Death Act. See Fla. Stat. §§ 768.21; 768.0415.

                                            Count VII

                        Plaintiff v. Defendant Ivey (Official Capacity)
                          Negligence Causing Injury and/or Death
          (Pursuant to Fla. Stat. § 768.28; Florida’s Survival Act, Fla. Stat. § 46.021;
               and Florida’s Wrongful Death Act, Fla. Stat. §§ 768.16, et seq.)

       210.    Paragraphs 1 to 162 are incorporated herein by reference.

       211.    All statutory prerequisites were timely and properly completed prior to the filing of

this claim.

       212.    EDWARDS was a pretrial detainee in the care, custody, or control of the Individual

Sheriff’s Office Defendants.




                                                32
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 33 of 40 PageID 557
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 44 of 69


       213.    Each Individual Sheriff’s Office Defendant either directly or indirectly owed

EDWARDS a duty to exercise reasonable care in safeguarding EDWARDS while he was in the

custody of the SHERIFF’S OFFICE and Jail. See Fla. Stat. § 768.28(9)(a).

       214.    As specifically discussed above, the Defendants each breached this duty.

       215.    IVEY, in his official capacity as the policymaker of the SHERIFF'S OFFICE, bears

legal responsibility for the negligent conduct, acts, and omissions of their agents and employees.

See Fla. Stat. § 768.28(9).

       216.    As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARDS suffered emotional and physical injury, pain, and suffering.

       217.    Pursuant to Florida’s Survival Act, Fla. Stat. § 46.021, Plaintiff seeks damages on

behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S wife, minor child, and

survivors, for all harm and injuries suffered by EDWARDS that did not directly cause his death.

       218.    In addition to, or in the alternative, as a direct and proximate cause of the

Defendants’ aforementioned actions, EDWARDS suffered emotional and physical injury, pain,

suffering, and death.

       219.    As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARD’S wife, minor child, and survivors, suffered emotional and financial injuries.

       220.    No other legal action has been initiated on behalf of EDWARDS’ survivors related

to the conducted discussed herein.

       221.    On behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S

wife, minor child, and survivors, Plaintiff seeks all available damages as provided by Florida’s

Wrongful Death Act. See Fla. Stat. §§ 768.21; 768.0415.




                                               33
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 34 of 40 PageID 558
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 45 of 69


                                             Count VIII

                   Plaintiff v. Defendants Nadeau, Robinson, and Jones
      Medical Malpractice by Licensed Practical Nurses Causing Injury and/or Death
        (Pursuant to Fla. Stat. § 766.102; Florida’s Survival Act, Fla. Stat. § 46.021;
              and Florida’s Wrongful Death Act, Fla. Stat. §§ 768.16, et seq.)

       222.    Paragraphs 1 to 162 are incorporated herein by reference.

       223.    All statutory prerequisites were timely and properly completed prior to the filing of

this claim.

       224.    NADEAU, ROBINSON, and JONES, were employed by, or an agent of, ARMOR

and/or IVEY, as licensed practical nurses.

       225.    EDWARDS was a pretrial detainee in the medical care of NADEAU, ROBINSON,

and JONES.

       226.    NADEAU, ROBINSON, and JONES were operating in the course and scope of

their employment in furtherance of ARMOR’S interests.

       227.    NADEAU, ROBINSON, and JONES’ aforementioned actions represent a breach

of the prevailing professional standard of care for licensed practical nurses.

       228.    As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARDS suffered emotional and physical injury, pain, and suffering.

       229.    Pursuant to Florida’s Survival Act, Fla. Stat. § 46.021, Plaintiff seeks damages on

behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S wife, minor child, and

survivors, for all harm and injuries suffered by EDWARDS that did not directly cause his death.

       230.    In addition to, or in the alternative, as a direct and proximate cause of the

Defendants’ aforementioned actions, EDWARDS suffered emotional and physical injury, pain,

suffering, and death.




                                                 34
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 35 of 40 PageID 559
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 46 of 69


       231.    As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARD’S wife, minor child, and survivors, suffered emotional and financial injuries.

       232.    No other legal action has been initiated on behalf of EDWARDS’ survivors related

to the conducted discussed herein.

       233.    On behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S

wife, minor child, and survivors, Plaintiff seeks all available damages as provided by Florida’s

Wrongful Death Act. See Fla. Stat. §§ 768.21; 768.0415.

                                            Count IX

                                 Plaintiff v. Defendant Armor
          Medical Malpractice by Healthcare Provider Causing Injury and/or Death
         (Pursuant to Fla. Stat. § 766.110; Florida’s Survival Act, Fla. Stat. § 46.021;
               and Florida’s Wrongful Death Act, Fla. Stat. §§ 768.16, et seq.)

       234.    Paragraphs 1 to 162 are incorporated herein by reference.

       235.    All statutory prerequisites were timely and properly completed prior to the filing of

this claim.

       236.    ARMOR had a duty to assure comprehensive risk management and the competence

of its medical staff and personnel through careful selection and review.

       237.    ARMOR had a duty to adopt written procedures for the selection of staff members

and a periodic review of the medical care and treatment rendered to patients by each member of

the medical staff;

       238.    ARMOR had a duty to adopt a comprehensive risk management program which

fully complies with the law.

       239.    ARMOR had a duty to diligently administer the medical review and risk

management processes, including the supervision of the medical staff and personnel to the extent




                                                35
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 36 of 40 PageID 560
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 47 of 69


necessary to ensure that such medical review and risk management processes are being diligently

carried out.

       240.    Pursuant to FED.R.CIV.P. 11(b)(3), it is believed that the following “factual

contentions have evidentiary support or . . . will likely have evidentiary support after a reasonable

opportunity for further investigation or discovery”:

               a. ARMOR breached the aforementioned duties.

       241.    As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARDS suffered emotional and physical injury, pain, and suffering.

       242.    Pursuant to Florida’s Survival Act, Fla. Stat. § 46.021, Plaintiff seeks damages on

behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S wife, minor child, and

survivors, for all harm and injuries suffered by EDWARDS that did not directly cause his death.

       243.    In addition to, or in the alternative, as a direct and proximate cause of the

Defendants’ aforementioned actions, EDWARDS suffered emotional and physical injury, pain,

suffering, and death.

       244.    As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARD’S wife, minor child, and survivors, suffered emotional and financial injuries.

       245.    No other legal action has been initiated on behalf of EDWARDS’ survivors related

to the conducted discussed herein.

       246.    On behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S

wife, minor child, and survivors, Plaintiff seeks all available damages as provided by Florida’s

Wrongful Death Act. See Fla. Stat. §§ 768.21; 768.0415.




                                                 36
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 37 of 40 PageID 561
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 48 of 69


                                             Count X

                                  Plaintiff v. Defendant Armor
                                       Vicarious Liability
                                 (Pursuant to Florida State Law)

       247.    Paragraphs 1 to 162 are incorporated herein by reference.

       248.    All statutory prerequisites were timely and properly completed prior to the filing of

this claim.

       249.    NADEAU, ROBINSON, and JONES, were employed by, or an agent of, ARMOR

and/or IVEY, as licensed practical nurses.

       250.    EDWARDS was a pretrial detainee in the medical care of NADEAU, ROBINSON,

and JONES.

       251.    NADEAU, ROBINSON, and JONES were operating in the course and scope of

their employment in furtherance of ARMOR’S interests.

       252.    NADEAU, ROBINSON, and JONES’ aforementioned actions represent a breach

of the prevailing professional standard of care for licensed practical nurses.

       253.    ARMOR is vicariously liable for the actions of its agents and employees who cause

injury to others while acting in the course and scope of their employment.

       254.    As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARDS suffered emotional and physical injury, pain, and suffering.

       255.    Pursuant to Florida’s Survival Act, Fla. Stat. § 46.021, Plaintiff seeks damages on

behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S wife, minor child, and

survivors, for all harm and injuries suffered by EDWARDS that did not directly cause his death.




                                                 37
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 38 of 40 PageID 562
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 49 of 69


       256.      In addition to, or in the alternative, as a direct and proximate cause of the

Defendants’ aforementioned actions, EDWARDS suffered emotional and physical injury, pain,

suffering, and death.

       257.      As a direct and proximate cause of the Defendants’ aforementioned actions,

EDWARD’S wife, minor child, and survivors, suffered emotional and financial injuries.

       258.      No other legal action has been initiated on behalf of EDWARDS’ survivors related

to the conducted discussed herein.

       259.      On behalf of the ESTATE OF GREGORY LLOYD EDWARDS, EDWARD’S

wife, minor child, and survivors, Plaintiff seeks all available damages as provided by Florida’s

Wrongful Death Act. See Fla. Stat. §§ 768.21; 768.0415.

           WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor as

follows:

       A.        Declaratory Judgment: That this Court declare that the Defendants’ actions violated

EDWARDS’ state and federal rights;

       B.        Compensatory Damages: all damages available by state and federal law, including

but not limited to violation of rights, conscious physical pain and suffering, embarrassment,

humiliation, fear, death, loss of enjoyment of life, hedonic damages, and the loss of companionship

from family;

       C.        Punitive Damages: as permitted by state and federal law;

       D.        Reasonable attorney’s fees and costs: as permitted by state and federal law;

       E.        Pre and Post Judgment Interest: as permitted by state and federal law;

       F.        Such other financial or equitable relief as is reasonable and just.




                                                   38
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 39 of 40 PageID 563
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 50 of 69


                                        Jury Trial Demand

        Plaintiff respectfully requests a trial by jury on all claims/issues in this matter that may be

tried to a jury.



Respectfully Submitted,


s/ Devon M. Jacob                                                              Date: May 26, 2021
DEVON M. JACOB, ESQUIRE
PA Bar No. 89182
JACOB LITIGATION
P.O. Box 837, Mechanicsburg, Pa. 17055-0837
717.796.7733 | djacob@jacoblitigation.com
(Plaintiff’s Counsel)


s/ Benjamin L. Crump                                                           Date: May 26, 2021
BENJAMIN L. CRUMP, ESQUIRE
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(850) 224-2023 | Court@bencrump.com
(Plaintiff’s Counsel)




                                                  39
Case 6:21-cv-00428-JA-DAB Document 42 Filed 05/27/21 Page 40 of 40 PageID 564
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 51 of 69




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA (Orlando)

MARGARITA RODRIGUEZ-BONILLA,                                No. 6:21-cv-428-JA-EJK
as the Successor Personal Representative of the
ESTATE OF GREGORY LLOYD EDWARDS,                            District Judge: John Antoon, II

                                     Plaintiff,
               v.                                           CIVIL ACTION – LAW
                                                            JURY TRIAL DEMANDED
WAYNE IVEY, et al.,

                                     Defendants.


                                CERTIFICATE OF SERVICE


       I, Devon M. Jacob, Esquire, hereby certify that on the below referenced date, I caused a

true and correct copy of this document to be served, via ECF, on all counsel of record.



Respectfully Submitted,


s/ Devon M. Jacob                                                          Date: May 26, 2021
DEVON M. JACOB, ESQUIRE




                                                  40
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 52 of 69




            EXHIBIT B
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 53 of 69
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 54 of 69
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 55 of 69
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 56 of 69
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 57 of 69
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 58 of 69
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 59 of 69
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 60 of 69




            EXHIBIT C
Case 6:21-cv-00428-JA-DAB Document 147 Filed 10/31/22 Page 78 of 218 PageID 3124
   USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 61 of 69
                          Kathleen Edwards      2/25/2022
                                                                             78

  1               But it's -- the retreat is at their
  2    facility in California.        And they have, like,
  3    therapists there.
  4          Q    Who took care of the funeral arrangements
  5    for Gregory?
  6          A    Wounded Warrior Project and his V.A.
  7    benefits.
  8          Q    Did you pay anything for Gregory's
  9    funeral?
 10          A    I paid extra additional fees for his
 11    casket, because I wanted him to have a nice casket.
 12    And I paid for a D.J. for -- his mom had some type
 13    of party for him.       And I paid for the D.J. and live
 14    music, because Gregory liked -- he was a musician,
 15    and he liked live music.         And I thought that was
 16    important.
 17          Q    Where did the funeral take place?
 18          A    In West Palm Beach.       I don't -- it's the
 19    Brown's Funeral Home.        I'm not sure.
 20          Q    Where is Greg buried?
 21          A    Greg's buried in the National Cemetery at
 22    Cape Canaveral.
 23          Q    Who paid for the headstone?
 24          A    It's veteran benefits.
 25          Q    Does your daughter get any survivor



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Case 6:21-cv-00428-JA-DAB Document 147 Filed 10/31/22 Page 79 of 218 PageID 3125
   USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 62 of 69
                          Kathleen Edwards      2/25/2022
                                                                             79

  1    benefits since Gregory's death?
  2          A    From social security, yes.
  3          Q    Does your daughter get any survivors
  4    benefits through the V.A.?
  5          A    No.
  6          Q    What type of social security survivor
  7    benefits does your daughter get?
  8          A    The benefits when your parents die.           I
  9    applied for it.      She got it.
 10          Q    Is it a one time thing, or does your
 11    daughter get a monthly benefit?
 12          A    It's a monthly benefit until she turns 18.
 13          Q    And how much is that monthly benefit?
 14          A    It's approximately 1200 a month.
 15          Q    Were there any Go-Fund Me's or anything
 16    like that, that were set up after Gregory's death?
 17          A    There was from someone in Brevard County
 18    for, like, protests and stuff like that.
 19          Q    Did you or your daughter receive any money
 20    from any crowdfunding account?
 21          A    No.
 22          Q    Have you visited Gregory's grave since he
 23    was buried?
 24          A    Yes.    We were visiting on a regular basis,
 25    but then when I was in and out of the hospital and



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Case 6:21-cv-00428-JA-DAB Document 147 Filed 10/31/22 Page 80 of 218 PageID 3126
   USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 63 of 69
                          Kathleen Edwards      2/25/2022
                                                                             80

  1    relocating, I discontinued visiting.           I felt unsafe
  2    in Brevard County after my arrest, so I stopped
  3    going to Brevard County.         And I plan on relocating
  4    his body.
  5           Q   When was the last time that you visited
  6    Gregory's grave?
  7           A   I'm trying to think.        Last springtime.
  8    Around last springtime.        I don't remember exactly.
  9           Q   Has your daughter been to any kind of
 10    counseling since Gregory's death?
 11           A   Yes.    When he first died, I put her in
 12    play therapy in Brevard County.          I paid for that
 13    out of my own pocket.        She was only in it for no
 14    more than three months.
 15               And then I took her out of that.           And now
 16    she's had some speech -- she wasn't speaking at
 17    all.    And, so now I have her in speech therapy once
 18    a week.
 19               And I do not recall the therapist at -- in
 20    Brevard County, because it's so long ago.             But the
 21    speech therapy is with the State of Pennsylvania.
 22    They come to her.       She goes to a private school,
 23    and they come there once a week to work on her
 24    speech.
 25           Q   Was your daughter home when your son



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USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 64 of 69




            EXHIBIT D
 Case 6:21-cv-00428-JA-DAB Document 190 Filed 04/07/23 Page 1 of 2 PageID 4488
  USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 65 of 69




MARGARITA RODRIGUEZ-BONILLA
                                                                                      6:21-cv-428-JA-DAB

WAYNE IVEY, et al.


                                                 March 7, 2023                                 Plaintiff




                                                                                                            $4,632.20


                                                                                                            $3,800.00




                                                                                                            $8,432.20




 X


                    s/ Thomas W. Poulton
                            Thomas W. Poulton
Sheriff Wayne Ivey, George Fayson, Richard Zimmerman and Robert Wagner, Jr.                          March 20, 2023


                            $8,432.20
                                                         U.S. Districr Court - FLMD


     Elizabeth Warren                                                                                      April 7, 2023
   Case 6:21-cv-00428-JA-DAB Document 190 Filed 04/07/23 Page 2 of 2 PageID 4489
    USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 66 of 69




                                           1 $2,800.00                      $2,800.00
Daniel Schultz
Tampa, Florida
                                                                             $1,000.00
                                             $1,000.00
Everett Keith Neely                    1

Margate, Flolrida




                                                                             $3,800.00
USCA11 Case: 23-11005   Document: 9   Date Filed: 04/27/2023   Page: 67 of 69




            EXHIBIT E
    Case 6:20-cv-02235-JA-DAB Document 112 Filed 03/27/23 Page 1 of 2 PageID 1630
     USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 68 of 69
AO 133    (Rev. 12/09) Bill of Costs


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                  MIDDLE DISTRICT OF FLORIDA
          MARGARITA RODRIGUEZ-BONILLA,                                     )
                                                                           )
                                  V.                                       )           Case No.: 6:20-cv-02235-JA-DAB

         C ITY OF WEST MELBOURNE, FLORIDA                                  )
                                                                           )
                                                               BILL OF COSTS
Judgment having been entered in the above entitled action on                   02/22/2023                            against    Margarita Rodriguez-Bonilla
                                                                                       Date
the Clerk is requested to tax the following as costs:

Fees of the Clerk ..................................................................                                                       $
Fees for service of summons and subpoena ............................................. .                                                                  100.00

Fees for printed or electronically recorded transcripts necessarily obtained for use in the case ......                                                  2,357.20

Fees and disbursements for printing ....................................................                                                                  302.22

Fees for witnesses (itemize 011 page two) ...................................................                                                               0.00

Fees for exemplification and the costs of making copies of any materials where the copies are
necessarily obtained for use in the case.................................................                                                                 816.54

Docket fees under 28 U.S.C. 1923 .....................................................

Costs as shown on Mandate of Court of Appeals ..........................................

Compensation of court -appointed experts ...............................................

Compensation of interpreters and costs of special interpretation services under 28 U.S.C. 1828 .....

Other costs (please itemize) .........•................................••.................

                                                                                                                               TOTAL       $             3,575.96

SPECIAL NOTE: Attach to your bill an itemization and documentation for requested costs in all categories.

                                                                      Declaration
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this bill has been served on all parties
in the following manner:
               Electronic service                        D       First class mail, postage prepaid
               Other:
          sf Attorney:       �L                   e .�-:
                    Name of Attorney: Gail C. Bradford, Esquire _                  _
For:                                   C it   of West Melbourne, Florida_                                                         Date:        03/03/2023
                                                Name of Claiming Party

                                                                Taxation of Costs
Costs are taxed in the amount of                        $3,575.96                                                       ____ and included in the judgment.
                                                                                        U.S. Districr Court - FLMD


               Elizabeth Warren                                 By:                                                                       March 27, 2023
                    Clerk of Court                                                        Deputy Clerk                                            Date
Case 6:20-cv-02235-JA-DAB Document 112 Filed 03/27/23 Page 2 of 2 PageID 1631
 USCA11 Case: 23-11005 Document: 9 Date Filed: 04/27/2023 Page: 69 of 69
